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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

 BANK MIDWEST, A DIVISION )
 OF NBH BANK,             )
                          )
        Plaintiff,        )
                          )                    Case No. 19-02560-CM-GEB
    v.                    )
                          )
 R. F. FISHER ELECTRIC    )
 COMPANY, LLC; R. F.      )
 FISHER HOLDINGS, INC.;   )
 AND G & G LEASING, LLC,  )
                          )
       Defendants.        )


            FIRST REPORT OF THE RECEIVER DATED NOVEMBER 26, 2019

ORDER

         Michael L. Staheli, Managing Director of Cordes & Company, was appointed Receiver

of the assets of the Defendants (collectively referred to as “RFF” or the “Company”) through a

court order granted on September 23, 2019 (the “Order”). The assets served as the collateral for

loans made by the Plaintiff, Bank Midwest (the “Secured Lender” or “NBH”) to RF Fisher.



BACKGROUND

         RFF released all employees and terminated operation on September 16, 2019, when it was

unable to fund payroll obligations to its employees. All directors and officers resigned as of that

date. The Receiver was appointed to collect and liquidate RFF assets for the benefit of the

Company’s creditors. While the Order wasn’t issued until September 23rd, the Receiver and the

Plaintiff worked together to change the locks on all buildings and secure the assets of the Company

on September 17 and 18. On visual inspection of the RFF office and warehouse on September



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17th, it was apparent that most computers, printers and electronics of value were missing from the

office building and some office equipment, tools and inventory items had been removed from the

warehouse. These items were likely removed by employees who were owed for several days’ pay

by RFF when it closed. The office computers and electronics had negligible value.



ASSETS CONTROLLED BY THE RECEIVER

         The RFF assets that have come into the control of the Receiver can be summarized as

follows (collectively referred to herein as “RFF Assets”):

                 Real Estate Assets: The real estate assets of the receivership estate are comprised

         of (i) a 8,408 square foot building (circa 1926) located at 1707 W. 39th Avenue, Kansas

         City, KS utilized by RFF as its office building (“RFF Office Building”); and, (ii) a 21,600

         square foot industrial building (circa 1950) located at 3033 Roanoke Road, Kansas City,

         MO utilized by RFF a warehouse for vehicle repair and storage of tools and supplies (“RFF

         Warehouse”).

                 Account Receivable. The accounts receivable on the books and records of RFF

         contains a record of customer obligations to the Company for work that was performed

         under service contracts (“Service Work”) and contracts for work on new construction and

         remodel projects (“Contract Work”) through September 8, 2019. There is an incomplete

         record for work performed during the week of September 9th. At the time of appointment,

         the calculated accounts receivable for Service Work and Contract Work totaled

         approximately $5.4 million. However, this figure is subject to revision as more is learned

         about actual work performed and offsets for unpaid suppliers and contract default penalties

         are included. Much of this asset category ($2.15 million) is owed by one customer under
                                                 2


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          a contract on Loews Hotel/Kansas City Convention Center (“Loews Project”). A summary

          of accounts receivable by customer is shown in Exhibit A, attached herewith.

                 Personal Property. The personal property assets of the receivership include (i) all

          trade tools, equipment, and inventories that were present in the RFF Warehouse on the date

          of appointment, (ii) all furnishings, files and data servers residing in the RFF Office, (iii)

          and all tools and equipment collected from customer projects during the past eight weeks.

                 Vehicles & Trailers. Upon appointment, the Receiver recovered a list of company

          vehicles showing a total of fifty-five (55) trucks and service vans being utilized by the

          company on the date of closure. According to the list, forty-five (45) of these vehicles

          were leased from Ford Motor Credit and Enterprise Leasing under master contracts. The

          Receiver has worked with the lessees to ensure the proper recovery of vehicles and has

          recovered 14 vehicles RFF that appear to be owned by RFF free of liens. A schedule of

          these vehicles is attached herewith as Exhibit B. All but four titles for these vehicles are

          in the files of the RFF. The Receiver has filed for replacement titles for the remaining four

          trucks. Additional storage, utility and office trailers of negligible value have also been

          recovered.



TAKEOVER ACTIVITIES OF THE RECEIVER

          The Receiver has been diligently working to secure and protect the RFF Assets since the

date of appointment. The following is a brief summary of some of the activities involved in this

effort.

          Insurance.    Receiver was able to retain the pre-existing property insurance coverage of

RFF through Dec. 31, 2019. All other insurance policies previously held by RFF, including
                                           3


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automobile, general liability, employer’s liability, professional liability, and workers comp, were

not assumed by the Receiver due to the high unpaid premium liabilities to the insurance premium

finance company. The Receiver obtained new general liability insurance for the two premises held

by the Receiver and basic automobile coverage for those vehicles that might be used in the

collection of personal property.

         Recovery of Data.      Two consultants were retained under independent contractor

agreements to assist the Receiver in the recovery and production of files and data necessary to

work on the collection of accounts receivable. The Receiver has been able to access the financial

and project management software utilized by RFF and generate invoices for services rendered

through the date of closure. All outside access to the servers was terminated to prevent tampering

by former RFF employees.

         Assistance from Former Employees. Senior management was very effective in portraying

NBH as the reason for the company’s demise and inability to pay its employees. As a result, very

few of the former RFF employees have been willing to cooperate with the Receiver in its asset

recovery and receivables collection efforts. Nevertheless, the Receiver has retained three former

RFF employees as independent contractors to assist in its activities.

         Bank Account and New Tax ID Number. The Receiver has obtained a tax identification

number from the IRS that is linked to RFF and has opened an operating account with Bank

Midwest to receive funds and pay expenses.

         Legal Counsel. The Receiver has retained Levy Craig Law Firm as legal counsel to assist

in the collection of outstanding receivables and represent the Receiver in enforcing its rights under

construction agreements on the Loews Hotel project and other projects.

         Vendor Notification. On October 7, 2019, all vendors were notified of the closure of RFF
                                               4


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and the appointment of the Receiver. All were invited to submit claims.

         Utilities. The utility services to the RFF Office and RFF Warehouse have been switched

over into the Receiver’s name.

         Securing Premises. As mentioned earlier, the Receiver hired a locksmith to re-key all

exterior doors of the RFF Office and RFF Warehouse to secure the buildings and personal property

assets contained therein.

         Access to Financial Records. The Receiver has cooperated with Local Union No. 124

IBEW to audit RFF payroll data to quantify RFF’s unfunded benefits obligations and payroll

liabilities.   Access has also been granted to the NHB auditors for the review of historic RFF

financial reports and supporting information.

         Post Office Box. All the correspondence with the Company and receipt of checks came

through a PO Box located near the RFF Office. On September 23, the Receiver closed this PO

Box and forwarded all mail to the Receiver’s address at 5299 DTC Blvd., Suite 600, Greenwood

Village, CO 80111.



LIQUIDATION OF ASSETS

         Personal Property. The Receiver interviewed auction companies and on November 11,

2019 signed an agreement with Mayo Auction & Realty, Inc. (“Mayo”) to organize all personal

property and liquidate it through an on-line auction.   Because of the complexity and size of this

auction, Mayo will require several weeks to photograph and catalogue the personal property. This

work will occur during December and early January. It is anticipated that the auction will conclude

during the week of February 10, 2020. Mayo is also responsible for disposing of all unsold

materials at the conclusion of the auction. A copy of the Receiver’s contract with Mayo is available
                                                 5


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upon request.

         Vehicles. The Receiver sold one vehicle (a 2013 Ford F-150 truck) in September for

$6,000. It is contemplated that the remaining vehicles and trailers will be liquidated by Mayo

during the personal property auction to increase interest and participation in the auction.

         Real Estate. Under the supervision of NBH, the Receiver will retain a real estate broker to

market and sell the RFF Office and RFF Warehouse. Any sale contracts will be subject to the

approval of the mortgage holder, NBH, and this Court. In preparation for this, the Receiver and

contracted laborers are cleaning all trash, debris and unnecessary RFF files from the RFF Office

building. Any paper documents needed for the receivables collections effort or enforcement of

construction agreements will be preserved.



COLLECTION OF RECEIVABLES

         It took several weeks for the Receiver to hire software consultant Barbara Wilkerson (of

Distinct Business Solutions) and Mark Kratzberg (of Proactive Networking) and then work

through the information necessary to commence the collection of outstanding receivables.

Fortunately, both consultants had specific familiarity with RFF, having worked for RFF during the

past few years. Susan Hult, a former RFF employee who assisted the company with collections,

was also hired to assist. Wilkerson updated billable amounts with work performed through

September 8th. The work occurring during the week of September 9th was incomplete and partially

recovered. Letters from Levy Craig notifying customers of the appointment of a Receiver and

demanding payment for the outstanding balance of invoices, were generated for each customer

and mailed out on October 17, 2019.

         The Receiver is working with customers to prove and collect on RFF invoices and assess
                                               6


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offsetting claims from suppliers and vendors who would lien customer property for non-payment.

This work is ongoing and will last several months due to its complexity. Recovery of receivables

for Contract Work is especially challenging given the penalties to RFF for contract default.

         From the appointment date to October 31, 2019, the Receiver collected $257,946.81 of

accounts receivable. As of the date of this report, the total collections have been $393,257.94. In

addition to this amount, the Receiver and NBH were able to capture an additional $54,057.51 in

checks and ACH transfers from the date of RFF Closure to the Receiver’s appointment date.

These funds were deposited into the RFF bank account and credited against the large negative

balance there.



RECEIVER FINANCIAL ACTIVITIES

         The Receiver maintains cash-basis financial statements that reflect the cash receipts and

disbursements that flow through the receivership estate for the period in question. The following

financial reports are attached herewith as exhibits.

            Exhibit C           Balance Sheet as of October 31, 2019

            Exhibit D           Statement of Income and Expenses by Month
                                as of October 31, 2019

Additional financial information is available to the parties to the matter upon request. The financial

reports reflect an advance of $12,116.01 on October 3, 2019 from NBH to cover the initial

insurance and consulting expenses of the Receiver.




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RECEIVER FEES & COSTS

         The Receivers fees and expenses for September and October 2019 totaled $82,725.28, as

shown in the invoices attached herewith as Exhibit E.



Respectfully submitted this 26th day of November 2019



                                                      _____________________________________
                                                      Michael L. Staheli, Receiver
                                                      Cordes & Company
                                                      5299 DTC Blvd., Suite 600
                                                      Greenwood Village, CO 80111
                                                      (303) 796-1130




         Schedule of Exhibits:

           Exhibit A            Summary of Accounts Receivable by Customer

           Exhibit B            Schedule of Vehicles in Receivership

           Exhibit C            RF Fisher in Receivership Financial Balance
                                Sheet as of October 31, 2019

           Exhibit D            RF Fisher in Receivership Income Statement as of
                                October 31, 2019

           Exhibit E            Receiver Invoices for September & October 2019




                                                        8


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                                  EXHIBIT A

                 SUMMARY OF ACCOUNTS RECEIVABLE BY CUSTOMER




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RF FISHER ELECTRIC COMPANY
Schedule of Outstanding Receivables
10/14/2019 ‐ RUN DATE

                                                                                       Outstanding
JOB #        PROJECT/WORK DESCRIPTION            CUSTOMER NAME                           Amount       Retainage        Total
20‐11‐2113   VA HOSPITAL ‐ MULTIPLE PROJECTS     ALEXANDER MECHANICAL CONTRACTORS         22,004.00      1,671.00      23,675.00
19‐10‐0048   SERVICE WORK                        AMERICA ACADEMY OF FAMILY PHYS            1,858.00                     1,858.00
20‐26‐2123   ST LUKES S AMERICAN DIG HALLWAY     AMERICAN DIGITAL SECURITY LLC             3,397.65                     3,397.65
17‐07‐0484   AT&T 63RD ST SMALL JOBS             AT&T SERVICES INC ‐ ARIBA                11,740.00                    11,740.00
20‐20‐2019   SERVICE WORK                        BANK OF OKLAHOMA                            656.00                       656.00
20‐20‐2003   SERVICE WORK                        BINSWANGER GLASS                            358.31                       358.31
19‐22‐0040   SERVICE WORK                        BISHOP SPENCER PLACE INC                 12,675.00                    12,675.00
20‐20‐2025   SERVICE WORK                        BLACKFIN COMMERCIAL REAL ESTATE SER         210.00                       210.00
20‐11‐2142   BROGDEN MACHINE T&M                 BROGD0N MACHINE                          10,681.54                    10,681.54
19‐16‐0268   KCMO NEIGHBROHOOD GROUP             BROWN & ROOT INDUSTRIAL SERVICES         26,712.00                    26,712.00
19‐22‐0003   SERVICE WORK                        CBRE/SPRINT                               1,794.73                     1,794.73
19‐08‐0182   NNSA MAINTENANCE                    CENTERPOINT ZIMMER LC/NNSA              138,489.01                   138,489.01
19‐17‐0309   MULTIPLE PROJECTS                   CENTRIC PROJECTS LLC                     83,250.33     15,925.10      99,175.43
20‐26‐2119   ST LUKES SOUTH SPECTRUM HARDLI      CHARTER COMMUNICATIONS                    4,107.00                     4,107.00
19‐10‐0007   SERVICE WORK                        CHEESECAKE FACTORY INC; THE               3,854.69                     3,854.69
20‐24‐2105   PROJECT RIBEYE                      CHOATE CONSTRUCTION                     321,668.28    35,740.92      357,409.20
17‐18‐0379   LOEWS HOTEL/CONVENTION CTR          CITADEL ELECTRIC GROUP INC            1,451,700.52   702,688.52    2,154,389.04
20‐20‐2010   SERVICE WORK                        CITY MARKET                                 222.00                       222.00
20‐20‐2117   CITY OF INDEP ‐ SILVERSTEIN ARENA   CITY OF INDEPENDENCE                     43,300.00                    43,300.00
18‐06‐0397   SERVICE WORK                        CITY OF OLATHE                           22,772.38                    22,772.38
19‐22‐0004   SERVICE WORK                        COPAKEN BROOKS                            7,000.00                     7,000.00
20‐20‐2010   SERVICE WORK                        COSTCO WHOLESALE/#369                       912.30                       912.30
20‐20‐2003   SERVICE WORK                        CWC                                       2,164.47                     2,164.47
19‐26‐0335   ST LUKES ‐ MULTIPLE PROJECTS        DAVID E ROSS CONSTRUCTION CO             93,829.25     15,374.53     109,203.78
19‐14‐0241   MULTIPLE PROJECTS                   DYE ELECTRIC, LLC                        25,232.00                    25,232.00
20‐20‐2003   SERVICE WORK                        EISENHOWER MOB, LLC                         449.00                       449.00
19‐10‐0034   SERVICE WORK                        ELECTRIC COMPANY OF OMAHA                 3,597.38                     3,597.38
20‐20‐2015   SERVICE WORK                        ENVIRONMENTAL MECHANICAL CNTRC INC          339.37                       339.37
20‐20‐2019   SERVICE WORK                        EPA                                       2,212.00                     2,212.00
20‐20‐2019   SERVICE WORK                        EXECUTIVE HILLS MANAGEMENT INC              530.84                       530.84
20‐20‐2018   SERVICE WORK                        FACILITY SOLUTIONS GROUP                 24,710.00                    24,710.00
20‐23‐2108   FEDERAL RESERVE ADS RELOCATION      FEDERAL RESERVE BANK BLDG                25,382.02                    25,382.02
20‐20‐2018   SERVICE WORK                        FERRELLGAS                               15,713.49                    15,713.49
20‐20‐2003   SERVICE WORK                        GRI PRAIRIE VILLAGE                         962.25                       962.25
18‐10‐0235   MULTIPLE PROJECTS                   J E DUNN CONSTRUCTION COMPANY           410,961.03   180,474.43      591,435.46
20‐26‐2051   SERVICE WORK                        JOSE RODRIGUEZ DDS                          432.00                       432.00
20‐25‐2129   KC CHIEFS 2019 SEASON WORK          KANSAS CITY CHIEFS FOOTBALL CL            6,905.00                     6,905.00
20‐20‐2003   SERVICE WORK                        KANSAS CITY KANSAS FIRE DEPARTMENT          120.00                       120.00
20‐20‐2010   SERVICE WORK                        KANSAS CITY KANSAS PUBLIC SCHOOLS        38,132.77                    38,132.77
18‐16‐0232   KCMO PARKS & REC FIBER CAMERAS      KANSAS CITY MO PARKS & REC               13,690.70                    13,690.70
18‐11‐0202   MULTIPLE FACILITIES                 KANSAS CITY POWER & LIGHT                82,630.99                    82,630.99
19‐25‐0302   KAUFFMAN STADIUM MISC WORK          Kansas City Royals                       16,616.33                    16,616.33
19‐25‐0295   MULTIPLE PROJECTS                   KELLY CONSTRUCTION GROUP INC            108,505.50     23,967.28     132,472.78
20‐20‐2015   SERVICE WORK                        LABORERS LOCAL UNION 1290                   146.00                       146.00
20‐20‐2010   SERVICE WORK                        LEXINGTON PLUMBING & HTG CO INC           1,085.13                     1,085.13
20‐20‐2015   SERVICE WORK                        LOCH LLOYD HOME ASSOCIATION                 875.00                       875.00
20‐04‐2032   SERVICE WORK                        MC COWN GORDON CONSTRUCTION LLC          10,112.77                    10,112.77
18‐22‐0040   ST LUKES ‐ SERVICE WORK             MCCARTHY CONSTRUCTION                   113,996.12      9,220.00     123,216.12
20‐20‐2004   SERVICE WORK                        MHC KENWORTH ‐ KC                         1,086.46                     1,086.46
20‐20‐2010   SERVICE WORK                        MHC TRUCK LEASING KC                        316.61                       316.61
20‐20‐2003   SERVICE WORK                        MHC TRUCK SOURCE                            802.56                       802.56
20‐20‐2019   SERVICE WORK                        MIDWEST PALLET CO INC                     1,636.00                     1,636.00
20‐25‐2130   ARROWHEAD STADIUM MAINTENANCE       MOBILITIE INVESTMENTS III, LLC           73,960.32                    73,960.32
20‐20‐2003   SERVICE WORK                        NARTHEX PROPERTIES, LLC                   1,325.78                     1,325.78
19‐14‐0385   MULTIPLE PROJECTS                   NORTH KANSAS CITY ELEC CO.               13,080.00                    13,080.00
19‐26‐0288   SPRINT ‐ LOEWS DAS SYSTEM INST      ON AIR SOLUTIONS, INC                    17,013.64                    17,013.64
19‐06‐0370   MULTIPLE PROJECTS & SERVICE WORK    P1 GROUP, INC.                           59,425.83      3,895.51      63,321.34
19‐11‐0368   COSTCO COOLERS                      PACIFIC ENERGY CONCEPTS, LLC             12,800.00                    12,800.00
20‐20‐2025   MULTIPLE PROJECTS                   PARIC CONSTRUCTION                      264,503.09     21,599.36     286,102.45
20‐26‐2132   SERVICE WORK                        PERSHING LOFTS                              404.10                       404.10
19‐22‐0020   SERVICE WORK                        POLICE ATHLETIC LEAGUE KCKS              20,000.00                    20,000.00
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RF FISHER ELECTRIC COMPANY
Schedule of Outstanding Receivables
10/14/2019 ‐ RUN DATE

                                                                                      Outstanding
JOB #        PROJECT/WORK DESCRIPTION           CUSTOMER NAME                          Amount        Retainage        Total
19‐06‐0281   800AMP SERVICE UPGRADE             PRO METALS LLC                          17,779.68                     17,779.68
19‐26‐0328   UNKNOWN ALLOCATION                 R F FISHER ELECTRIC CO LLC              28,552.30                     28,552.30
19‐08‐0352   MULTIPLE PROJECTS                  RAND CONST CO                           30,746.90                     30,746.90
20‐20‐2003   SERVICE WORK                       ROSEDALE DEVELOPMENT ASSOCIATION            115.00                       115.00
20‐20‐2004   MULTIPLE PROJECTS                  SCHWEIGER CONSTRUCTION CO               32,082.65       3,531.40      35,614.05
20‐26‐2145   FEDERAL RESERVE BANK               SEIMENS                                   2,443.68                     2,443.68
18‐10‐0264   MULTIPLE PROJECTS                  SIMPLEXGRINNELL LP                      21,611.50                     21,611.50
19‐26‐0351   LOEWS HOTEL A‐V PACKAGE            SKC COMMUNICATIONS                      35,255.93                     35,255.93
             SERVICE WORK                       SPENCER FANE, BRITT & BROWNE              1,267.19                     1,267.19
19‐06‐0264   SERVICE WORK                       SPRINT CENTER                             7,602.35                     7,602.35
20‐26‐2048   MULTIPLE PROJECTS & SERVICE WORK   ST LUKE'S HEALTH SYSTEM                157,731.57       5,120.71     162,852.28
20‐26‐2051   SERVICE WORK                       ST LUKE'S MEDICAL PLAZA PARTNERS          1,101.00                     1,101.00
20‐26‐2047   SERVICE WORK                       SURGICENTER OF KANSAS CITY                1,327.58                     1,327.58
20‐20‐2003   SERVICE WORK                       THE SULGRAVE REGENCY                      1,751.08                     1,751.08
19‐21‐0359   CMHK MECHANICAL IMPROVEMENTS       U S ENGINEERING CO                      20,599.73      10,795.98      31,395.71
20‐20‐2016   MULTIPLE SERVICE WORK JOBS         UMB BANK                               146,263.88                    146,263.88
20‐20‐2016   SERVICE WORK                       UMB C/O MC REALTY GROUP                     199.32                       199.32
17‐10‐0457   SERVICE WORK                       UNIVERSITY OF KS HOSPITAL AUTHORITY       9,745.00                     9,745.00
20‐20‐2003   SERVICE WORK                       USF HOLLAND INC                           1,229.23                     1,229.23
20‐20‐2004   SERVICE WORK                       WALDINGER CORPORATION                     5,695.84                     5,695.84
20‐20‐2004   SERVICE WORK                       WATTERSON                                   222.00                       222.00
19‐23‐0184   UCM UNION ADDTN RENO IFB19‐004     WESTPORT CONSTRUCTION                   39,536.09      36,508.43      76,044.52
19‐22‐0032   SERVICE WORK                       WL CASSELL & ASSOCIATES INC               1,420.80                     1,420.80
19‐16‐0252   MULTIPLE PROJECTS                  YATES ELECTRIC CO INC                   25,139.00                     25,139.00
19‐08‐0332   NNSA SAFETY LIGHTS                 ZIMMER & COMPANY                        16,393.00                     16,393.00

                                                                                      4,240,861.84   1,066,513.17   5,307,375.01
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                                                 EXHIBIT B

                          SCHEDULE OF RF FISHER OWNED VEHICLES
                                   HELD BY RECEIVER



                                                                         Plate
                    YR      MODEL                   VIN                 If avail
                   2007     STERLING ‐ FORD F800    2FZHATBS38AZ56995   392AKF
                   2009     Ford F‐150              1FTRF128X9KB83343   154KDC
                   2009     Ford F‐150              1FTRF12819KB83456
                   2011     Ford F‐150              1FTNF1CF9BKD32536   778JBK
                   2012     Ford F‐150              1FTNF1CF2CKD80526   534LVJ
                   2013     Ford F‐550              1FDUF5GTODEB10807   602721
                   2013     Ford F‐150 XL           1FTFW1CF9DFA17767   478LVJ
                   2013     Ford F‐150              1FTNF1CF3DKE65960   126FXA
                   2013     Ford F‐150              1FTEX1CM7DFE04650   533LZD
                   2013     Ford F‐150              1FTNF1CF3DKE46809
                   2014     Ford F‐350 E350 SE      1FDWE3FL2EDA12452   132LZJ
                   2014     Ford F‐150              1FTNF1CF6DKG28777   108LZJ
                   2014     Chev G3500 Van          1GCZGTCG5E1154470
                   2011     Ford F-350 Flatbed      1FD8X3HT2BEA42668




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                                   EXHIBIT C

               RF FISHER IN RECEIVERSHIP FINANCIAL BALANCE SHEET
                               AS OF OCTOBER 31, 2019




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12:56 PM                    RF Fisher Electric Company LLC in Receivership
11/26/19                                               Balance Sheet
Cash Basis                                            As of October 31, 2019

                                                                               Oct 31, 19
                 ASSETS
                   Current Assets
                     Checking/Savings
                        291 - BMW Operating Account                                222,283.53

                      Total Checking/Savings                                       222,283.53

                      Other Current Assets
                        Paid Retainers                                               2,000.00

                      Total Other Current Assets                                     2,000.00

                   Total Current Assets                                            224,283.53

                 TOTAL ASSETS                                                      224,283.53

                 LIABILITIES & EQUITY
                    Liabilities
                       Current Liabilities
                          Other Current Liabilities
                              Funding Requests                                      12,116.01

                         Total Other Current Liabilities                            12,116.01

                      Total Current Liabilities                                     12,116.01

                   Total Liabilities                                                12,116.01

                   Equity
                     Net Income                                                    212,167.52

                   Total Equity                                                    212,167.52

                 TOTAL LIABILITIES & EQUITY                                        224,283.53




                                                                                                Page 1
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                                    EXHIBIT D

                    RF FISHER IN RECEIVERSHIP INCOME STATEMENT
                                 AS OF OCTOBER 31, 2019




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12:55 PM                      RF Fisher Electric Company LLC in Receivership
11/26/19                                Profit & Loss YTD Comparison
Cash Basis                                       October 2019

                                                           Oct 19              Jan - Oct 19
                   Income
                      Customer Payments                         257,946.81            257,946.81
                      Miscellaneous Income                          203.00                203.00

                   Total Income                                 258,149.81            258,149.81

                   Expense
                     Auto Expense                                 6,506.11              6,506.11
                     Bank Fees                                       22.00                 22.00
                     Computer Expenses                                0.00                  0.00
                     Contract Labor                              14,908.75             14,908.75
                     Insurance Expense                            9,370.88              9,370.88
                     Legal Fees                                  10,290.00             10,290.00
                     Locksmith Services                             818.13                818.13
                     Professional Fees                                0.00                  0.00
                     Storage Rent                                 3,375.00              3,375.00
                     Utilities
                        Water                                 63.52                  63.52
                        Utilities - Other                    627.90                 627.90

                      Total Utilities                                 691.42                 691.42

                   Total Expense                                 45,982.29             45,982.29

                 Net Income                                     212,167.52            212,167.52




                                                                                                      Page 1
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                                         EXHIBIT E

                                      RECEIVER INVOICES
                                FOR SEPTEMBER & OCTOBER 2019




                                             13


CORE/3000603.0079/154738167.1
                Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 18 of 31

                                                                                                INVOICE
                                                                          Invoice Date:            09/30/19
                                                                         Total Amount:           $22,613.34
                                                                               Number:        19-19---03424
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                     Invoice Period: 09/01/19 - 09/30/19
5299 DTC Blvd, Suite 600                                                   Engagement:        Fisher Electric
Greenwood Village, CO 80111


                                           INVOICE SUMMARY


Description                                                                                        Amount
B. Blank.                                                                                          $217.00
D. Davis.                                                                                            $90.00
M. Staheli.                                                                                     $18,358.00
Mileage.                                                                                             $69.60
Other Expense.                                                                                     $140.51
Travel - Air.                                                                                    $2,045.83
Travel - Car Rental.                                                                               $739.62
Travel - Lodging.                                                                                  $922.26
Travel - Other.                                                                                      $30.52
TOTAL AMOUNT DUE                                                                                $22,613.34




                                               Remit payment to:
                                               Cordes & Company
                                           5299 DTC Blvd, Suite 600
                                          Greenwood Village, CO 80111

                                          Thank you for your business!
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 19 of 31

                                                                                                             INVOICE
                                                                                    Invoice Date:               09/30/19
                                                                                   Total Amount:              $22,613.34
                                                                                         Number:           19-19---03424
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                               Invoice Period: 09/01/19 - 09/30/19
5299 DTC Blvd, Suite 600                                                             Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                              INVOICE DETAILS
Date        Code                Description                                          Hrs /          Rate        Amount
                                                                                      Qnt

Professional Fees
09/17/19    M. Staheli          Travel to KC and meet with Mike Balsbaugh.            9.00     $335.00        $3,015.00
                                Collect and review available information. Call
                                with Mark Kratzburg, IT consultant, re shutting
                                down system. Call with Jon Garner, warehouse
                                manager, re access and assets. Call with former
                                employee & Andrew Muller. Attend to
                                engagement planning.
09/18/19    M. Staheli          Mtg with Jon Carson @ warehouse & take                9.00     $335.00        $3,015.00
                                pictures. Conf call with Michael Beaver, et al.
                                re financial assets. Inspect offices & take
                                pictures. Mtgs with Mark Kratzburg, Stacy
                                Ryan and Richard Stone. Collect contents of
                                PO Box ($200k approx). Calls with Kenton
                                Bros locksmith. Mtg with NHB Bank to hand
                                off keys, etc. incl allocation of travel time.
09/23/19    M. Staheli          Preparation for trip to KC and allocation of          4.50     $335.00        $1,507.50
                                travel time. Call with Mark One owner.
09/24/19    M. Staheli          Retrieve keys from locksmith. Meet with Mike          7.80     $335.00        $2,613.00
                                Balsbaugh and inspect office and warehouse
                                with him. Work at warehouse on takeover
                                matters including calls with: insurance agency;
                                credit card companies; Barbara Wikerson; Ed
                                Allen; Stu Schilling; Ford Motor Credit. Take
                                inventory of vehicles in possession.
09/24/19    D. Davis            Contact A. Pasque to order Bond, work with A.         1.00      $75.00            $75.00
                                Muller on questions regarding appointment.
                                With B. Blank regarding receivership. Update
                                receiver files.
09/24/19    B. Blank            Email correspondence with M Staheli, D Davis          0.90     $155.00          $139.50
                                and others to obtain old EIN, attempt to obtain
                                new receivership EIN, email correspondence
                                with V Miller to establish bank account for
                                Fisher Electric, forward information re same,
                                work on obtaining signatures for same
09/25/19    D. Davis            Email exchanges with S. Ramirez and A. Muller         0.20      $75.00            $15.00
                                regarding receivership documents, update
                                receiver files, discussions with M. Staheli and
                                B. Blank on signature cards.




                                   Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 20 of 31

                                                                                                                   INVOICE
                                                                                         Invoice Date:                09/30/19
                                                                                        Total Amount:               $22,613.34
                                                                                              Number:            19-19---03424
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                                    Invoice Period: 09/01/19 - 09/30/19
5299 DTC Blvd, Suite 600                                                                  Engagement:            Fisher Electric
Greenwood Village, CO 80111
                                                 INVOICE DETAILS
Date        Code                  Description                                             Hrs /          Rate         Amount
                                                                                           Qnt
09/25/19    M. Staheli            Continue work on takeover of assets, including:          8.90     $335.00         $2,981.50
                                  review of all files related to vehicles; inspection
                                  of assets; meeting with Andrew Muller at his
                                  office; supervise the retrieval of light poles by
                                  City of Kansas City; call with Mike Tamburini,
                                  construction litigator; call with NBH Bank re
                                  status of findings.
09/26/19    M. Staheli            Attend to cleanout of third-party property and           9.00     $335.00         $3,015.00
                                  vehicles at warehouse. Continued review of
                                  company files, mail. Close out post office box
                                  and forward mail to Cordes office. With
                                  Barbara Wilkerson re data retrieval for asset
                                  list. With Mark Katzburg to provide Barbara
                                  with remote access. Attend to other takeover
                                  items, including insurance and utilities and
                                  padlocks. Allocation for some travel back to
                                  Denver.
09/27/19    M. Staheli            Work on recovery of asset list, including calls          4.10     $335.00         $1,373.50
                                  with M Balsbaugh. With Mark Kratzburg re
                                  remote access to system. Attend to delinquent
                                  insurance premium and correspond with broker
                                  for rectification. Assemble request for funds.
                                  Coordinate meeting with Mike Tamburini for
                                  next week's visit.
09/30/19    M. Staheli            Review company digital files on server.                  2.50     $335.00           $837.50
                                  Review Loews information on current
                                  receivable. Call with M Balsbaugh re accounts
                                  receivable. Pursue Susan Hult contact info,
                                  including call with brother. Preparation for trip,
                                  including travel logistics. Engagement
                                  administration.
09/30/19    B. Blank              Finalize new account paperwork and forward to            0.50     $155.00             $77.50
                                  NBH Bank, process checks for deposit, prepare
                                  overnight delivery of same
                                                                 Professional Fees        57.40                    $18,665.00

Reimbursable Expenses
09/18/19    Mileage               to/from DIA for KC trip (9/17-18)                       60.00          $0.58          $34.80
09/18/19    Travel - Car Rental   Fuel for rental car (KC)                                   --          $0.00          $26.10




                                     Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 21 of 31

                                                                                                                INVOICE
                                                                                      Invoice Date:                09/30/19
                                                                                     Total Amount:               $22,613.34
                                                                                           Number:            19-19---03424
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                                 Invoice Period: 09/01/19 - 09/30/19
5299 DTC Blvd, Suite 600                                                               Engagement:            Fisher Electric
Greenwood Village, CO 80111
                                                 INVOICE DETAILS
Date        Code                  Description                                          Hrs /          Rate         Amount
                                                                                        Qnt
09/18/19    Travel - Lodging      Hampton Inn, KC (9/17-18)                               --          $0.00        $262.29
09/18/19    Travel - Air          Southwest Airlines - KC trip (9/17-18)                  --          $0.00        $759.96
09/18/19    Travel - Car Rental   Hotwire - car rental (KC trip 9/17-18), $131.60,        --          $0.00        $149.60
                                  plus 18.00 in insurance from Allianz Travel Ins.
09/18/19    Travel - Other        Wally Park (DIA Parking) 9/17-18                        --          $0.00          $30.52
09/26/19    Travel - Air          United DEN to KC - 9/23-26                              --          $0.00        $754.60
09/26/19    Travel - Lodging      Spring Hill Suites (KC) 9/23 to 9/26                    --          $0.00        $659.97
09/26/19    Travel - Car Rental   Dollar Rental Car in KC - 9/23 to 9/26                  --          $0.00        $348.88
09/26/19    Travel - Air          Wally Park (DIA) 9/23- 9/26                             --          $0.00          $59.28
09/26/19    Other Expense         Strasser True Value Hardware - Locks for           140.51           $1.00        $140.51
                                  buildings & storage yard
09/26/19    Travel - Car Rental   QuikTrip - fuel for rental car (9/26)                   --          $0.00          $27.66
09/26/19    Mileage               To/from DIA via tollroads (9/23-26 trip to KC)       60.00          $0.58          $34.80
09/30/19    Travel - Air          United DEN to KC - 10/1 - 10/3                          --          $0.00        $329.60
09/30/19    Travel - Car Rental   Hotwire.com - Alamo car in KC - 10/1-10/                --          $0.00        $187.38
                                  3, $160.38 plus 27.00 in insurance from Allianz
                                  Travel
09/30/19    Travel - Air          Frontier Airlines DEN to KC (10/7 - 10/9)               --          $0.00        $142.39
                                                         Reimbursable Expenses       260.51                      $3,948.34
                                                     TOTAL FEES/EXPENSES                  --                    $22,613.34




                                     Offices in Colorado, Minnesota and California
                Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 22 of 31

                                                                                                INVOICE
                                                                          Invoice Date:            10/31/19
                                                                         Total Amount:           $60,111.94
                                                                               Number:        19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                     Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                   Engagement:        Fisher Electric
Greenwood Village, CO 80111


                                           INVOICE SUMMARY


Description                                                                                        Amount
B. Blank.                                                                                        $1,736.00
D. Davis.                                                                                        $2,242.50
M. Staheli.                                                                                     $48,407.50
Copies/Postage/Supplies.                                                                           $302.42
Mileage.                                                                                           $139.20
Other Expense.                                                                                   $3,361.90
Travel - Air.                                                                                    $1,225.80
Travel - Car Rental.                                                                             $1,037.49
Travel - Lodging.                                                                                $1,461.53
Travel - Meals.                                                                                      $29.74
Travel - Other.                                                                                    $167.86
TOTAL AMOUNT DUE                                                                                $60,111.94




                                               Remit payment to:
                                               Cordes & Company
                                           5299 DTC Blvd, Suite 600
                                          Greenwood Village, CO 80111

                                          Thank you for your business!
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 23 of 31

                                                                                                               INVOICE
                                                                                      Invoice Date:               10/31/19
                                                                                     Total Amount:              $60,111.94
                                                                                           Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                                 Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                               Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                               INVOICE DETAILS
Date        Code                Description                                            Hrs /          Rate        Amount
                                                                                        Qnt

Professional Fees
10/01/19    B. Blank            Phone call with M Staheli re insurance to be            0.40     $155.00            $62.00
                                paid, additional invoices to be paid, with NBH,
                                work to gain online access
10/01/19    M. Staheli          In KC: meet with Susan Hult re collection of            8.20     $335.00        $2,747.00
                                A/R; meet with Mike Tamburini re legal
                                representation and case planning actions
                                needed. Calls with M Balsbaugh and B Blank
                                re information. Attend to misc emails & mail.
10/02/19    M. Staheli          Attend to: call with Speedway project manager           7.80     $335.00        $2,613.00
                                re trucks and trailer; conf call with bank re A/R;
                                call with legal counsel re numerous legal issues;
                                pick up truck & trailer at Speedway; IT issues in
                                getting Susan Hult plugged into system; task list
                                for Hult and Wilkerson; store trailer at
                                warehouse; training for Hult; visit to bank to
                                sign ACH authorization.
10/02/19    B. Blank            With NBH Bank, work to obtain online access,            0.50     $155.00            $77.50
                                email correspondence with M Staheli re funding
                                of account, phone call to Travelers insurance to
                                pay premium due, establish accounting system
                                and check printing
10/03/19    B. Blank            Verify funds in the account, prepare wiring             1.10     $155.00          $170.50
                                instructions forward same to M Staheli, record
                                accounts payable, generate check, finalize
                                payments to vendors
10/03/19    M. Staheli          Attend to takeover activities: call re KCP&L re         9.50     $335.00        $3,182.50
                                Hawthorne station personal property; Theresa
                                Overfield recruiting; Ed Allen recruiting;
                                vehicle retrieval; project site visits (Ribeye &
                                KCP&L Hawthorne); draft memo to NBH re
                                status of collections; Ford Motor Credit, etc.
                                Allocation for travel time to Denver.
10/04/19    M. Staheli          Attend to call with Theresa Overfield and misc          1.30     $335.00          $435.50
                                correspondence. Call with Mike Balsbaugh.
                                Work on customer payment demand letter with
                                attorney.




                                   Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 24 of 31

                                                                                                             INVOICE
                                                                                    Invoice Date:               10/31/19
                                                                                   Total Amount:              $60,111.94
                                                                                         Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                               Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                             Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                               INVOICE DETAILS
Date        Code                Description                                          Hrs /          Rate        Amount
                                                                                      Qnt
10/07/19    M. Staheli          Call with legal counsel and NBH re collections.       5.50     $335.00        $1,842.50
                                Prepare for trip, including response to emails,
                                signing misc documents, call with project
                                managers Steve King and Max Galloway.
                                Allowance for travel time.
10/07/19    D. Davis            Process vendor notification letters.                  1.80      $75.00          $135.00
10/08/19    D. Davis            Work on collections. Finalize vendor mailing.         2.00      $75.00          $150.00
10/08/19    M. Staheli          Onsite: meetings with S Hult re collections; B        8.60     $335.00        $2,881.00
                                Wilkerson re AR entry and needed info; NBH
                                auditors; M Tamburini / S Mecham re litigation
                                & collections. Warehouse: check out dropped
                                off vehicles. Onsite inspection of KC Art
                                Institute personal property. Calls with misc
                                employees / contractors / etc. Work on
                                insurance including vehicle check list & general
                                liability insurance.
10/08/19    B. Blank            Email correspondence with M Staheli re                0.10     $155.00            $15.50
                                invoices to pay
10/09/19    B. Blank            Email correspondence with M Staheli re vendor         0.70     $155.00          $108.50
                                invoices that were paid, discussion with D
                                Davis re vendor payables, work with NBH
                                Bank to establish remote deposit capabilities,
                                record accounts payable, generate check,
                                process checks for deposit, prepare overnight
                                delivery
10/09/19    M. Staheli          Onsite: with NBH auditors re progress on audit;       9.00     $335.00        $3,015.00
                                with S Hult re: collections; calls with
                                contractors, attorneys and customers.
                                Warehouse: with Ford Credit re re-possession
                                of trucks and removal of personal property;
                                accumulate more keys from keybox and check
                                for additional working keys; arrange some
                                inventory/equip. Visit jobsites to inspect for
                                equipment and meet with project SIs: Saltgrass,
                                Emmanuel CDC; Brogdon Machinery.
                                Allocation for some travel time.
10/09/19    D. Davis            With with S. Hult on collections; call with C.        1.50      $75.00          $112.50
                                Rupe on moneys owed. Call with Waste
                                Management - unable to assist. Discussions
                                with B. Blank on project. Process credit card
                                payments (numerous collections).


                                   Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 25 of 31

                                                                                                             INVOICE
                                                                                    Invoice Date:               10/31/19
                                                                                   Total Amount:              $60,111.94
                                                                                         Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                               Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                             Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                              INVOICE DETAILS
Date        Code                Description                                          Hrs /          Rate        Amount
                                                                                      Qnt
10/10/19    D. Davis            Letter to Bank of Labor to freeze all accounts        0.70      $75.00            $52.50
                                associated with Defendants.
10/10/19    D. Davis            Lengthy call with Waste Management                    1.20      $75.00            $90.00
                                Corporate office to attempt to get account put
                                into Receiver's name. In receipt of updated
                                paperwork; with M. Staheli regarding same.
                                Work with S. Hult to obtain account
                                information for dumpster location.
10/10/19    D. Davis            Call with Commerce Bank regarding Saint Luke          0.50      $75.00            $37.50
                                invoices and payments via credit card
                                processing. Continue work on vendor payment
                                processing. Work with S. Hult regarding same.
10/10/19    M. Staheli          Call with M Balsbaugh (NBH Bank) re status of         5.10     $335.00        $1,708.50
                                work. Calls with Max Gallaway re car and RFF
                                personal property at Emmanuel job. Call with
                                Steve King re Loews job and needed assistance.
                                Attend to Brogdon receivable. Additional
                                research on vehicles needing insurance and send
                                list to insurance agent. Research auction
                                houses.
10/10/19    B. Blank            Establish vendors in system, record accounts          0.30     $155.00            $46.50
                                payable, generate checks, record deposits
10/11/19    B. Blank            Verify deposits into C&C account for credit           0.50     $155.00            $77.50
                                card deposits, generate check for same, process
                                checks for deposit, with D Davis discussion re
                                monthly credit card charge fees, establish
                                worksheet for same
10/11/19    M. Staheli          Calls with Steve King re Emmanuel and Loews           3.90     $335.00        $1,306.50
                                projects. Assemble independent contractor
                                agreement for S King and forward. Call with
                                Enterprise re vehicles repossession. Work on
                                Brogdon invoice & correspondence. Frequent
                                interaction with Hult and Wilkerson re A/P,
                                A/R and billings. Call with M Tamburini re
                                collections. Review & approve notice letter and
                                NDA for union audit. Attend to travel logistics.
10/14/19    D. Davis            Prepare for collection mailing project.               0.50      $75.00            $37.50




                                   Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 26 of 31

                                                                                                             INVOICE
                                                                                    Invoice Date:               10/31/19
                                                                                   Total Amount:              $60,111.94
                                                                                         Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                               Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                             Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                              INVOICE DETAILS
Date        Code                Description                                          Hrs /          Rate        Amount
                                                                                      Qnt
10/14/19    M. Staheli          Attend to calls & emails from vendors re              4.20     $335.00        $1,407.00
                                notification letter. Work on collections letter
                                and related schedules. Attend to vehicle &
                                liability insurance issues. Call/email with
                                Enterprise re leased vehicles. Call from
                                interested buyer for assets. Review/sign NDA
                                with Union. Finalize Stephen King IC
                                Agreement and process payment.
10/14/19    B. Blank            Research for credit card charges to be                0.60     $155.00            $93.00
                                deposited, discussion with M Staheli re same,
                                record accounts payable, generate check re
                                same, record accounts payable, generate checks
10/15/19    B. Blank            Process checks for deposit                            0.40     $155.00            $62.00
10/15/19    M. Staheli          Meetings with: Labor Union auditors &                 9.00     $335.00        $3,015.00
                                attorneys re unpaid wages/benefits; Gavin
                                Seeley; Danny King re recovery of truck.
                                Attend to misc correspondence and calls.
                                Stowe truck & equipment from Saltgrass job
                                received from Danny King. Allocation for
                                travel from Denver
10/15/19    D. Davis            Work with S. Hult and Barb on collections.            2.00      $75.00          $150.00
                                Begin project; continue document updates.
10/16/19    D. Davis            Collection project; assorted discussion with S.       2.50      $75.00          $187.50
                                Hult.
10/16/19    M. Staheli          Refine collections demand letter and related          6.80     $335.00        $2,278.00
                                schedules with S Hult & D Davis. Attend to
                                calls / emails from unsecured creditors. Calls
                                with Danny Holenberg and Jay Raymore re
                                mini excavators. Meet with Rick Newfield &
                                Quinton (auditor) from NHB / Bank Midwest.
                                Extended meeting with S King re Loews.
                                Attend to misc correspondence and admin
                                items.
10/17/19    M. Staheli          Engage Jay York & Travis Williams.                   10.50     $335.00        $3,517.50
10/17/19    D. Davis            Collection project continued; work with S. Hult.      3.00      $75.00          $225.00
                                Arrange pickup of coffee system by Necco.
10/18/19    D. Davis            Complete mailing, update Dropbox folders.             4.10      $75.00          $307.50
10/18/19    B. Blank            Research banking activity, record transactions        0.90     $155.00          $139.50


                                   Offices in Colorado, Minnesota and California
             Case 2:19-cv-02560-CM-GEB Document 15-1 Filed 11/27/19 Page 27 of 31

                                                                                                             INVOICE
                                                                                    Invoice Date:               10/31/19
                                                                                   Total Amount:              $60,111.94
                                                                                         Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                               Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                             Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                               INVOICE DETAILS
Date        Code                Description                                          Hrs /          Rate        Amount
                                                                                      Qnt
10/21/19    M. Staheli          Attend to: vehicle insurance needs;                   5.10     $335.00        $1,708.50
                                correspondence & calls with vendors/suppliers;
                                call with Leo Rieke re storage yard; call with
                                Max Galloway re assistance; call with Terracon
                                re inspection; review property tax assessments;
                                review Oldham Auctions proposal; go through
                                mail from PO Box.
10/21/19    B. Blank            Record accounts payable, generate checks              0.20     $155.00            $31.00
10/21/19    D. Davis            With C. Lynn regarding cancellation of storage        0.30      $75.00            $22.50
                                facility. Call Public Storage to cancel storage
                                unit; directed to come to unit to cancel.
10/22/19    D. Davis            Log, update and forward payment information           0.70      $75.00            $52.50
                                to S. Hult. To public storage to cancel unit
                                rental, confirmation regarding same.
10/22/19    B. Blank            Record accounts payable, generate check,              0.40     $155.00            $62.00
                                process checks for deposit
10/22/19    M. Staheli          Call with Dept of Utilities re power shutoff at       2.20     $335.00          $737.00
                                office. Attend to calls and emails re:
                                collections, supplier payables, legalities. Call
                                with Jay York re coordination of equipment
                                gathering.
10/23/19    M. Staheli          Trip to KC. Meet with S Hult re collections.          8.50     $335.00        $2,847.50
                                Attend to multiple collections issues and
                                correspondence. Call with M Balsbaugh re
                                status. With Travis W & Jay Y re recovery of
                                assets. With Enterprise re transfer of vehicles.
                                Tour both real properties with Terracon for
                                environmental report inspections. Call with
                                Craig Levy re collections. Call with
                                prospective real estate buyer.
10/23/19    B. Blank            Forward deposit information to M Staheli,             0.50     $155.00            $77.50
                                record accounts payable, generate check, with D
                                Davis research utility payments, forward copies
                                of same to D Davis
10/23/19    D. Davis            Assorted calls and emails with S. Hult.               1.50      $75.00          $112.50
                                Discussions with M. Staheli on vendor
                                accounts. Work on vendor and creditor account
                                closures and notifications. Sort mail and update
                                files.



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                                                                                                              INVOICE
                                                                                     Invoice Date:               10/31/19
                                                                                    Total Amount:              $60,111.94
                                                                                          Number:           19-19---03518
R.F. Fisher Electric Company LLC in Receivership
c/o Cordes & Company                                                                Invoice Period: 10/01/19 - 10/31/19
5299 DTC Blvd, Suite 600                                                              Engagement:           Fisher Electric
Greenwood Village, CO 80111
                                               INVOICE DETAILS
Date        Code                Description                                           Hrs /          Rate        Amount
                                                                                       Qnt
10/24/19    M. Staheli          With KCP&L re invoices & personal property.            9.10     $335.00        $3,048.50
                                Retrieve property from Hawthorne. Attend to
                                multiple billing, receivable, collections issues.
                                Calls with former RF Fisher employees for
                                recovery. Mtg with Richard Stock re
                                finalization of Zimmer accounts. Mtg with
                                prospective office bldg buyer. Misc
                                correspondence & project files.
10/24/19    D. Davis            Account work to close and make notification            2.00      $75.00          $150.00
                                calls, with S. Hult. Lengthy and numerous
                                calls.
10/25/19    D. Davis            Calls, emails, faxes (Kansas City Gas, AT&T,           2.30      $75.00          $172.50
                                John Deere, KC Water, Spire) continued
                                attempts on account changes and closures.
10/25/19    M. Staheli          Mtg with Leo Rieke for procurement of                  8.40     $335.00        $2,814.00
                                equipment storage yard. Calls to misc project
                                managers & contractor superintendents for
                                removal of property. Meet and instruct Travis
                                and Jay about jobs / procedures for property
                                removal. Oversee cleanout of office building.
                                Work on collections activities. Allocation for
                                some travel time.
10/25/19    B. Blank            Process checks for deposit                             0.20     $155.00            $31.00
10/28/19    M. Staheli          Work on collections, invoice approval, staff           3.90     $335.00        $1,306.50
                                hours reports and documentation of travel
                                related expenses. Call with customers re
                                personal property.
10/28/19    B. Blank            Calculate payments for contracted labor, record        1.50     $155.00          $232.50
                                same, research payments received vs log kept
                                by S Hult
10/28/19    D. Davis            Work with M. Staheli and S. Hult on account            1.60      $75.00          $120.00
                                setup and employee paperwork. Review mail
                                received, discussion with M. Staheli regarding
                                same. Numerous discussions with AT&T in
                                attempts to get accounts closed.
10/29/19    D. Davis            Work with vendors on receiver account changes          1.70      $75.00          $127.50
                                at both locations.




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Greenwood Village, CO 80111
                                                INVOICE DETAILS
Date        Code                  Description                                          Hrs /          Rate         Amount
                                                                                        Qnt
10/29/19    B. Blank              Email correspondence and phone call with D            1.50     $155.00           $232.50
                                  Davis re checks needed, invoices to be paid,
                                  email correspondence with M Staheli and S
                                  Hult re ACH deposits, email correspondence
                                  with S Hult re payments received, research
                                  same, with D Davis work to generate checks,
                                  research deposits compared to check log from S
                                  Hult
10/29/19    M. Staheli            Call with Casey Walsh re recovery of                  1.50     $335.00           $502.50
                                  trucks/equipment. Attend to power termination
                                  at 3033 Roanoke and payment of invoices from
                                  independent contractors. Attend to collection
                                  efforts & misc correspondence. Prep for trip
                                  tomorrow.
10/30/19    M. Staheli            Work in KC: collections, facilities clean out,       10.00     $335.00         $3,350.00
                                  collection of physical property, calls with ex
                                  RFF people, inspect warehouse, status report to
                                  NBH. Allocation for some travel time.
10/30/19    B. Blank              Email correspondence with S Hult re invoices          0.90     $155.00           $139.50
                                  paid by original checks received, record
                                  accounts payable, generate check, email
                                  correspondence and phone call with S Hult re
                                  duplicate payment received, research deposits
                                  into the bank account, forward same to M
                                  Staheli
10/31/19    B. Blank              Research for W9 for vendor, process checks for        0.50     $155.00             $77.50
                                  deposit
10/31/19    M. Staheli            Calls with the following parties related to           6.40     $335.00         $2,144.00
                                  collections, payables and recovery of assets:
                                  Jay Travis, Keegan Monahan, Welder's Supply,
                                  Troy Yates, Teresa Gray (Sprint), Phil Leibwitz,
                                  Robert Mayo and Shane Mecham. Work on
                                  Yates receivable & lien releases. Sale of truck
                                  to Phil Leibwitz. Allocation for travel time.
                                                               Professional Fees     185.60                     $52,386.00

Reimbursable Expenses
10/02/19    Travel - Car Rental   Hotwire - rental car + insurance, KC MO (10/3           --          $0.00        $187.38
                                  - 5)




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                                                  INVOICE DETAILS
Date        Code                  Description                                          Hrs /          Rate         Amount
                                                                                        Qnt
10/04/19    Travel - Other        Wally Park - DIA Parking (10/1 - 10/3)                  --          $0.00          $45.78
10/04/19    Travel - Car Rental   Rental Car Fuel - KCI Car Center                        --          $0.00          $37.04
10/04/19    Travel - Lodging      Springhill Suites, KC (10/1 - 10/3)                     --          $0.00        $378.75
10/04/19    Mileage               To/from DIA for KC trip (each week for 4           240.00           $0.58        $139.20
                                  weeks)
10/08/19    Travel - Air          United DEN to MCI (10/15-10/17)                         --          $0.00        $376.60
10/10/19    Travel - Lodging      Springhill Suites, KC MO (10/7-9)                       --          $0.00        $352.26
10/10/19    Travel - Other        Wally Park - DIA (10/7-9)                               --          $0.00          $45.78
10/10/19    Travel - Car Rental   Hotwire.com - Thrifty Car Rental (10/7 - 10/9)          --          $0.00        $166.78
                                  + Allianz Ins.
10/10/19    Travel - Car Rental   QuickTrip - Fuel, KS ($14.26) and KCI Care              --          $0.00          $18.33
                                  Care - Fuel ($4.07)
10/11/19    Travel - Car Rental   QT - Fuel for Rental Car (KC MO)                        --          $0.00          $14.36
10/12/19    Travel - Car Rental   Priceline.com - Car Rental w Thirfty (10/15             --          $0.00        $233.03
                                  - 10/17) - $137.50 + Thrifty Car tax ($56.53)
                                  + Allianz Ins ($39)
10/16/19    Travel - Air          Southwest Airlines - DEN-KCI (10/23-25)                 --          $0.00        $299.96
10/17/19    Travel - Lodging      Springhill Suites, KC (10/15-17)                        --          $0.00        $374.26
10/17/19    Other Expense         Strasser True Value - trailer hitch w ball &         79.64          $1.00          $79.64
                                  receiver pin.
10/17/19    Travel - Car Rental   Shell - fuel for rental car                             --          $0.00          $29.11
10/23/19    Travel - Air          United Airlines - OW MCI to DEN on 10/31                --          $0.00        $248.30
10/23/19    Travel - Air          Southwest - OW DEN to MCI on 10/30                      --          $0.00        $116.98
10/23/19    Other Expense         Sinclair - Fuel for F-350 truck                      85.92          $1.00          $85.92
10/25/19    Other Expense         Strasser True Value Hardware -- trash bags           21.81          $1.00          $21.81
                                  10/25/19
10/25/19    Other Expense         O'Reilly Auto Parts - fuel filter for Ford F-350     90.55          $1.00          $90.55
                                  diesel truck




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c/o Cordes & Company                                                                    Invoice Period: 10/01/19 - 10/31/19
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Greenwood Village, CO 80111
                                                 INVOICE DETAILS
Date        Code                  Description                                              Hrs /          Rate         Amount
                                                                                            Qnt
10/25/19    Other Expense         Sinclair - Diesel fuel F-350 truck for retrieval of     24.69           $1.00          $24.69
                                  PProp
10/25/19    Travel - Lodging      SpringHill Suites - KC MO (10/23-25)                        --          $0.00        $356.26
10/25/19    Travel - Car Rental   KCI Car Center - fuel for rental car (10/25)                --          $0.00          $11.22
10/25/19    Travel - Other        Wally Park - DIA parking (10/23-25)                         --          $0.00          $45.78
10/25/19    Travel - Meals        Bo Lings - KC, MO                                           --          $0.00          $29.74
10/25/19    Other Expense         Dumpster Budget - 1707 W 39th Ave trash                400.00           $1.00        $400.00
                                  disposal
10/25/19    Other Expense         Google Fiber - maintain service                        130.00           $1.00        $130.00
10/28/19    Other Expense         Progressive Insurance - 9 trucks for RF Fishe         1,976.88          $1.00      $1,976.88
                                  r Receivership - 1st installment
10/28/19    Travel - Air          Southwest Airlines - DEN - KC trip (11/6-9)                 --          $0.00        $183.96
10/28/19    Travel - Car Rental   Payless Car Rental - KCI - 10/23 - 10/                      --          $0.00        $206.47
                                  25 ($170.47) + Allianz Travel Ins for car ($36)
10/29/19    Other Expense         Budget Dumpster - 30 yard dumpster for office          467.00           $1.00        $467.00
                                  building clean out.
10/30/19    Copies/Postage/Su     FedEx Invoice 6-777-35958                                   --          $0.00        $133.02
            pplies
10/31/19    Copies/Postage/Su                                                                 --          $0.00        $169.40
            pplies
10/31/19    Travel - Car Rental   Thrifty Rent a Car - KC ($107.43) + Allanz Ins              --          $0.00        $125.43
                                  ($18)
10/31/19    Other Expense         Sinclair - Fuel for Work Truck                          85.41           $1.00          $85.41
10/31/19    Travel - Car Rental   KCI Car Center - rental car                                 --          $0.00           $8.34
10/31/19    Travel - Other        Wally Park - DIA Parking                                    --          $0.00          $30.52
                                                          Reimbursable Expenses         3,601.90                     $7,725.94
                                                      TOTAL FEES/EXPENSES                     --                    $60,111.94




                                     Offices in Colorado, Minnesota and California
